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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
AT CLARKSBURG

JACKLIN ROMEO, SUSAN S. RINE,
and DEBRA SNYDER MILLER, individually
and on behalf of others similarly situated,

Plaintiffs,
v. Civil Action No. 1:17-ev-88
Judge Keeley
ANTERO RESOURCES CORPORATION.

Defendant.

 

SECOND AMENDED CLASS ACTION COMPLAINT

 

Plaintiffs Jacklin Romeo, Susan 8. Rine, and Deborah Snyder Miller (“Plaintiffs”), on
behalf of themselves and the Class defined below, for their second amended class action
complaint against Defendant Antero Resources Corporation (“Antero”), pursuant to Fed. R. Civ.
P. 15(a)(2), allege as follows:

JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction over this class action case pursuant to
28 U.S.C. § 1332(d)(2), because the dollar amount in controversy exceeds the sum of
$5,000,000, exclusive of interest and costs, and because this is a class action in which one or
more members of the proposed Class is a citizen of states other than Colorado and Delaware,
which are the two states of citizenship for Defendant Antero,

2. This Court has personal jurisdiction over Antero because Antero has conducted

substantial business activities in the state of West Virginia, and because the acts and conduct of

 

 
 

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Antero giving rise to the claims asserted in this class action Complaint occurred in the state of
West Virginia.

3. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because a
substantial part of the events or omissions giving tise to the claims alleged in this class action
Complaint occurred in this judicial district.

PARTIES

4, Plaintiff Jacklin Romeo is a citizen of the State of West Virginia, residing at 79
Whispering Pine Lane, Bridgeport, West Virginia 26330. Ms. Romeo has received royalty
payments from Antero on certain oil and natural gas mineral interests located in Doddridge
County, West Virginia, and pursuant to the lease attached hereto as Exhibit 1, dated March 14,
1984, and the lease dated December 30, 1983, Book 134, Page 207, which contains identical
royalty language and concerns the same land as referenced in the lease attached hereto as Exhibit
1.

5. Plaintiff Susan S. Rine is a citizen of the State of Florida, residing at 11127
Dormie Dr., San Antonio, Florida 33576. Ms. Rine has received royalty payments from Antero
on certain oil and natural gas mineral interests located in Harrison County, West Virginia, and
pursuant to the lease attached hereto as Exhibit 2, dated October 19, 1979,

6. Plaintiff Deborah Snyder Miller is a citizen of the State of Florida, residing at
10115 Deer Lane, New Port Richey, Florida 34654. Ms. Miller has received royalty payments
from Antero on certain oil and natural gas mineral interests located in Harrison County, West
Virginia, and pursuant to the lease attached hereto as Exhibit 2, dated October 19, 1979.

7. Both of the above-referenced leases (Exhibits 1 and 2) are among the Royalty

Agreements defined in Paragraph 9 of this second amended class action complaint.
 

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8. Defendant Antero is a Delaware corporation, with its principal place of business
located at 1615 Wynkoop Street, Denver, Colorado 80202.
CLASS DEFINITION
9. Plaintiffs bring this action on behalf of themselves and the Class of similarly
situated persons and entities, pursuant to Fed. R. Civ. P. 23(b)(3), consisting of:

Persons and entities, including their respective successors and
assigns, to whom Antero has paid royalties or overriding royalties
(collectively, “Royalties”) on Natural Gas, including natural gas
liquids, produced by Antero from wells located in West Virginia at
any time since June 1, 2007, pursuant to leases or overriding
royalty agreements (“Royalty Agreements”) which do not
expressly permit the deduction of costs (“post-production costs”)
incurred between the wellhead and the point of sale of marketable
gas products to place the gas into a marketable condition and
deliver such gas products to the market (“the Class”),

 

The Class excludes: (1) agencies, departments, or instrumentalities
of the United States of America; (2) publicly traded oil and gas
exploration companies; (3) any person who is or has been a
working interest owner in a well produced by Antero in West
Virginia; and (4) Antero.
CLASS ACTION ALLEGATIONS
10. Each of the requirements for certification of a Fed. R. Civ. P. 23(b)(3) Class is
satisfied in this case.
A. NUMEROSITY — Federal Rule of Civil Procedure 23(a)(1)
11. The members of the Class are so numerous that separate joinder of each member
of the Class is impractical. On information and belief, there are more than five hundred

members of the defined Class, who reside in numerous states throughout the United States.

B. COMMONALITY — Federal Rule of Civil Procedure 23(a)(2)
 

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12. Common questions of law and fact exist as to the claims of the Plaintiffs and the
defined Class. These common legal and factual questions include, without limitation, the
following:

a, Whether Antero has a duty under the Royalty Agreements to pay
royalties to Plaintiffs and the Class based upon prices received on the
sale of marketable residue gas at the point of sale to third party
purchasers?

b. Whether Antero has breached its obligations under the Royalty
Agreements by failing to pay royalties to Plaintiffs and the Class based
upon the prices received on the sale of residue gas to third party
purchasers?

c. Whether Antero has a duty under the Royalty Agreements to pay
royalties to Plaintiffs and the Class based upon prices received on the
sale of marketable natural gas liquids at the point of sale to third party
purchasers?

d. Whether Antero has breached its contractual obligations under the
Royalty Agreements by failing to pay royalties to Plaintiffs and the
Class based upon prices received on the sale of marketable natural gas
liquids at the point of sale to third party purchasers?

e. Whether Antero has breached its obligations under the Royalty
Agreements by deducting various post-production costs from the sales
price of the marketable natural gas products (including residue gas and
natural gas liquid products) in the calculation and payment of royalties
to Plaintiffs and the Class?

C. TYPICALITY — Federal Rule of Civil Procedure 23(a)(3)}

13. Plaintiffs’ claims are typical of the claims of the members of the Class.

D. ADEQUACY OF REPRESENTATION — Federal Rule of Civil Procedure
23(a)(4)

14. The Plaintiffs will fairly and adequately protect the interests of the Class, and
have retained counsel who are experienced in prosecuting class action royalty underpayment
lawsuits against natural gas producers.

E. PREDOMINANCE AND SUPERIORITY - Federal Rule of Civil Procedure
23(b)G)

 

 
 

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15. The questions of law and fact which are common to the Class predominate over
any individual questions which may exist.

16. A class action is superior to other available methods for the fair and efficient
adjudication of the claims of the Class members against Antero.

FACTUAL BACKGROUND SUPPORTING
THE CLAIMS OF PLAINTIFFS AND THE CLASS

 

17. Plaintiffs and the Class are parties to Royalty Agreements under which Antero has
paid royalties to them on gas produced by Antero from wells located in West Virginia which are
subject to the Royalty Agreements.

18. Antero is a lessee or overriding royalty payor, whether by succession or as the

 

original party, under the Royalty Agreements, and has produced Natural Gas from wells subject
to the Royalty Agreements, and paid royalties to the Plaintiffs and the members of the Class.

19. Each of the Plaintiffs is a lessor under lease agreements (Exhibits 1 and 2) under
which Antero has acquired the interests of the lessee, and has paid royalties to each of the
Plaintiffs at certain times after January 1, 2007.

20. On March 14, 1984, Jesse J. Nixon, Betty Nixon, Mary Alice Vincent, and Hubert
L. Vincent, as Lessors, entered into a Lease Agreement with Clarence W. Mutschelknaus, as
Lessee (“the 1984 Lease Agreement”) (Ex. 1). On June 26, 1993, Lessor Jesse J. Nixon died and
his interest in the 1984 Lease Agreement passed through the Last Will and Testament of Jesse J.
Nixon to Lessor Betty Nixon. On July 2, 1993, Lessor Betty Nixon died and Plaintiff Jacklin
Romeo received 1/4th of Lessor Betty Nixon’s interests under the 1984 Lease Agreement
through the Last Will and Testament of Betty Nixon. Plaintiff Jacklin Romeo has held her
respective interest under the 1984 Lease Agreement received from the date that she acquired

such an interest July 2, 1993 to the present day. Plaintiff Jacklin Romeo signed a modification of

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the 1984 Lease Agreement with Antero, recorded on October 22, 2012 in Book 270, Page 570,
which is attached hereto as part of Exhibit 1. The modification of the 1984 Lease Agreement
grants certain pooling rights directly to Antero.21. Antero acquired the rights and obligations of
the Lessee under the 1984 Lease Agreement in the following title chain (as recorded in the
County Clerk’s Office of Doddridge County, West Virginia):

a. On May 21, 1984, lessee Clarence W. Mutschelknaus assigned the
1984 Lease Agreement to Stonewall Gas Company, as recorded in
Book 136, Page 564.

b. Lessee Stonewall Gas Company assigned the 1984 Lease
Agreement to Mountain Gas 84-3, as recorded on December 10,
1985 in Book 145, Page 76.

c. Lessee Mountain Gas 84-3 assigned the 1984 Lease Agreement to
Dominion Reserves, Inc., as recorded on December 23, 1993 in
Book 170, Page 19.

d, Dominion Reserves, Inc. changed its name te CNX Gas Company
in 2011, as recorded in Book 292, Page 469. On information and
belief, CNX Gas Company assigned its interest in the 1984 Lease
Agreement to Antero prior to January 1, 2009.

21. The royalty provision of the 1984 Lease Agreement states:

In consideration of the premises, the said [Lessee] covenants and
agrees: First, to deliver monthly to the credit of the Lessors, their
heirs or assigns, free of costs, in the pipeline, to which Lessee may
connect its wells, Lessors’ proportionate share of the equal one-
eighth (1/8) part of all oi! produced and saved from the leased
premises; and second, to pay monthly Lessor’s proportionate share
of the one-eighth (1/8) of the value at the well of the gas from each
and every gas well drilled on said premises, the product from
which is marketed and used off the premises, said gas to be
measured at a meter set on the farm, and to pay monthly Lessors’
proportionate share of the one-eighth (1/8) of the net value at the
factory of the gasoline and other gasoline products manufactured
from casinghead gas.

22. On October 19, 1979, Lee H. Snyder and Olive W. Snyder, as Lessors, entered

into an Oil and Gas Lease with Robert L. Matthey, Jr., as Lessee (“the 1979 Lease Agreement”)

 
 

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(Ex. 2). Lessor Olive W. Snyder died on December 12, 1979 and her interests under the 1979
Lease Agreement transferred to Lee H. Snyder at that time. Upon the death of Lee H. Snyder on
or about November 22, 1983, 1/7th of the Lessors’ interest under the 1979 Lease Agreement
transferred under the Last Will and Testament of Lee H. Snyder to Lee H. Snyder’s sibling,
Martha B. Snyder. Upon the death of Martha B. Snyder on or about September 6, 1994, Martha
B. Snyder’s 1/7th interest under the 1979 Lease Agreement was transferred under the Last Will
and Testament of Martha B. Snyder in equal shares to Martha B. Snyder’s three children:
William J. Snyder, Susan S. Rine, and Debra Snyder Miller. Plaintiffs Susan S$. Rine and Debra
Snyder Miller have subsequently held their respective interests under the 1979 Lease Agreement
received on or about September 6, 1994. Both Plaintiff Susan S. Rine and Plaintiff Debra
Snyder Miller signed modifications of the 1979 Lease Agreement with Antero, as evidenced in

the modifications executed on July 24, 2013, in Book 1517, Page 189 and in Book 1516, Page

- 717, which are attached hereto Exhibit 2. The modifications of the 1979 Lease Agreement grants

certain pooling rights directly to Antero.
23. Antero acquired the rights and obligations of the Lessee under the 1979 Lease
Agreement in the following title chain (as recorded in the County Clerk’s Office of Harrison

County, West Virginia unless otherwise specified):

a. On July 28, 1980, lessee Robert L. Matthey assigned the 1979
Lease Agreement to James F. Scott, as recorded in Book 1094,
Page 45

b. Lessee James F. Scott assigned the 1979 Lease Agreement to
Convest 1980-1] Energy Income Program, as recorded in Book
1106, Page 278.

c. Convest 1980-II Energy Income Program assigned the 1979
Lease Agreement to Convest Production Company, as recorded
in Book 1151, Page 862.

 

 
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d. Convest Production Company merged into CEP Interim
Partners, L.P., and CEP Interim Partners, L.P. merged into
Convest Energy Corporation, as reflected in the certificates
issued by the Office of the Secretary of State for the State of
Texas and recorded on October 7, 1991 in the Office of the
Clerk of the Harrison County Commission in Articles of
Incorporation as recorded in Book 52, Page 56, and Book 54,
Page 59.

e. Convest Energy Corporation assigned the 1979 Lease
Agreement to Fuel Resources Production and Development
Company, October 1, 1993, as recorded in in Book 1244, Page
623.

f. Fuel Resources Production and Development Company merged
into The Houston Exploration Company, Inc., on February 28,
1996 recorded on October 11, 2000, as recorded in in Book
1324, Page 735.

 

g. The Houston Exploration Company, Inc. assigned the 1979
Lease Agreement to Keyspan Natural Fuel, LLC, recorded on
July 11, 1997 in Book 1289, Page 821.

h. Keyspan Natural Fuel, LLC assigned the 1979 Lease
Agreement to the Houston Exploration Company, Inc. recorded
on June 11, 2003 in Book 1351, Page 1260.

 

i. The Houston Exploration Company, Inc. assigned the 1979
Lease Agreement to Seneca-Upshur Petroleum, Inc., recorded
on September 9, 2004 in Book 1367, Page 1084.

j. Seneca-Upshur Petroleum, Inc. converted into Seneca-Upsher
Petroleum, LLC, as reflected in a certificate of conversion from
the Secretary of State for the State of West Virginia as
recorded on April 25, 2011 in the Office of the Harrison Clerk
of the County Commission in Articles of Incorporation Book
59, Page 1032.

 

 

k, Seneca-Upsher Petroleum, LLC assigned the 1979 Lease
Agreement to Antero, recorded on July 17, 2012 in Book 1495,
Page 380.

24. ‘The royalty provision of the 1979 Lease Agreement states:

(a) Lessee covenants and agrees to deliver to the credit of the
Lessor, his heirs or assigns, free of cost, in the pipe line to which
 

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said Lessee may connect its wells, a royalty of one-eighth (1/8) of
native oil produced and saved from the leased premises.

(b) Lessee covenants and agrees to pay Lessor as royalty for
the native gas from each and every well drilled on said premises
producing native gas, an amount equal to one-eight (1/8) of the
gross proceeds received from the sale of the same at the prevailing
price for gas sold at the well, for all native gas saved and marketed
from the said premises, payable quarterly.

25. Under both the 1984 Lease Agreement and the 1979 Lease Agreement, Antero, as
the Lessee, impliedly covenants that it will market the gas produced from the wells subject to
those Lease Agreements. Antero’s implied duty to market includes the responsibility to place
the gas into a marketable condition, and to transport the marketable gas products to the market.

Pursuant to Antero’s duty to market, Antero is obligated to pay the Plaintiffs, as Lessors,

royalties based upon their share of 1/8th of the proceeds received from the purchasers of the

 

marketable gas products at the point of sale, without deductions. Estate of Tawney v. Columbia
Natural Resources, LLC, 633 S.E.2d 22, 27-30 (W. Va. 2006); Wellman v. Energy Resources,
tne., 557 S.E.2d 254, 265 (W. Va. 2001).

26. There is no language in the 1984 Lease Agreement or the 1979 Lease Agreement

 

which provides that Antero, in its calculation and payment of royalties to the Plaintiffs, is
permitted to deduct any of the costs incurred between the wellhead and the point of sale of the
marketable gas products, and therefore Antero is not permitted to deduct any such costs in its
calculation of royalties paid to Plaintiffs. Tawney, 633 S.E.2d at 30.

27. The gas produced by Antero from the wells subject to the 1984 and 1979 Lease
Agreements is “wet gas”, meaning that it is saturated with liquid hydrocarbons and water. The
gas produced by Antero from the wells subject to these two Lease Agreements must be treated

and processed to separate residue gas from hydrocarbon liquids and contaminants, such as
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carbon dioxide, in order to obtain marketable residue gas, which is then sold to third party
purchasers.

28. The wet gas produced by Antero from the wells subject to the 1984 and 1979
Lease Agreements contains valuable liquid hydrocarbon components. In order to transform
those liquid hydrocarbons into marketable natural gas liquid products, the liquid hydrocarbons
must be extracted from the raw gas stream at a processing plant, and thereafter fractionated into
marketable natural gas liquid products at a fractionation facility, so that marketable ethane,
butane, isobutane, propane and natural gasoline (“the marketable natural gas liquid products”)
can be sold to third party purchasers.

29. In its production and sale of natural gas and marketable natural gas liquid
products which were produced from the wells subject to the 1984 and the 1979 Lease
Agreements, Antero, or those acting on its behalf, consistently: (1) produced raw gas from the
Class members’ wells which contained both natural gas and valuable liquid hydrocarbons; (2)
transported the raw gas produced from the wells at issue to a processing plant, where the
valuable natural gas liquids were extracted from the raw gas which came from the Class
members’ wells, into a Y Grade mix of natural gas liquids; (3) conditioned and treated the gas so
that the remaining “residue gas” conformed to the quality specifications of the long distance
transmission pipeline into which the residue gas was delivered and sold to third party purchasers;
and (4) transported the Y Grade mix of extracted natural gas liquids to a fractionation facility so
that the Y Grade mix could be fractionated into marketable natural gas liquid products—-ethane,
butane, isobutane, propane, and natural gasoline—and thereafter sold to third party purchasers by
Antero, or other entities to whom Antero had delegated the duty to convert the raw gas into
marketable natural gas liquids and to sell such marketable natural gas liquids to third party

purchasers at the point of sale.

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30. In its calculation and payment of royalties paid to Plaintiffs, Antero has
consistently underpaid the royalties owed to Plaintiffs, by: (1) failing to pay royalties based upon
the sales price received on the sale of residue gas which was obtained from wells subject to the
1984 and 1979 Lease Agreements, at the point of sale; (2) failing to pay royalties based upon the
sales price received at the point of sale on the sale of marketable natural gas liquid products
which were obtained from the wells subject to the 1984 and 1979 Lease Agreements; and (3)
improperly deducting from the sale prices received on the sale of marketable residue gas and the
five marketable natural gas liquid products various post-production costs and expenses, including
expenses for treating, compression, fuel, gathering, transportation to the point of sale, processing,
fractionation, and other expenses incurred in transforming the raw gas produced from the wells
into marketable natural gas products.

31. | Under each of the Royalty Agreements described in the Class definition, Antero
has the same implied duty to market the gas, and the same royalty payment obligations to the
royalty payees, as it does to the Plaintiffs under the 1984 and 1979 Lease Agreements, as set
forth in Paragraph 25 of this Second Amended Class Complaint.

32. There is no language in the Royalty Agreements described in the Class definition
which provides that Antero, in its calculation and payment of royalties to the Class members, is
permitted to deduct any of the costs incurred between the wellhead and the point of sale of the
marketable gas products, and therefore Antero is not permitted to deduct any such costs in its
calculation of royalties paid to the Class members. Tawney, 633 S.E.2d at 30.

33. The gas produced by Antero from the wells subject to the Royalty Agreements
described in the Class definition is the same type of “wet gas” described in Paragraphs 27 and 28

of this Amended Class Complaint.

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34. In its production and sale of natural gas products which came from the wells
subject to the Royalty Agreements described in the Class definition, Antero, or those acting on
its behalf, consistently: (1) produced natural gas from the Class members’ wells which contained
both natural gas and valuable liquid hydrocarbons; (2) transported the gas produced from the
wells at issue to a processing plant where the valuable natural gas liquids were extracted from the
gas which came from the Class members’ wells, into a Y Grade mix of natural gas liquids; (3)
conditioned and treated the gas so that the remaining “residue gas” conformed to the quality
specification of the long distance transmission pipeline into which the residue gas was delivered
and sold; and (4) transported the “Y Grade” mix of extracted natural gas liquids to a fractionation
facility so that the Y Grade mix could be fractionated into marketable natural gas liquids—
ethane, butane, isobutane, propane, and natural gasoline—and thereafter sold to third party
purchasers by Antero, or other entities to whom Antero had delegated the duty to convert the raw
gas into marketable natural gas liquid products and to sell such marketable natural gas liquid
products to third party purchasers.

35. In its calculation and payment of royalties paid to the members of the defined
Class who are payees under the Royalty Agreements described in the Class definition, Antero
has consistently underpaid the royalties owed to such Class members by: (1) failing to pay

royalties based upon the sales prices received on the sale of residue gas which was obtained from

 

wells subject to the Royalty Agreements, at the point of sale; (2) failing to pay royalties based
upon the sales price received at the point of sale on the sale of marketable natural gas liquid
products which were obtained from the wells subject to the Royalty Agreements at the point of
sale; and (3) improperly deducting from the sale prices received on the sale of marketable

residue gas and the five marketable natural gas liquid products various post-production costs and

 

expenses, including expenses for treating, compression, fuel, gathering, transportation to the

 

 

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point of sale, processing, fractionation, and other expenses incurred in transforming the raw gas
produced from the Class members’ wells into marketable natural gas products.

36. By underpaying the royalties owed to Plaintiffs and the Class in the manner
described above, Antero has breached its contractual obligations to Plaintiffs and the Class under
the Royalty Agreements.

37. As a result of Antero’s breaches of its royalty payment obligations under the
Royalty Agreements, Plaintiffs and the Class have sustained substantial damages.

FIRST CLAIM FOR RELIEF
(Breach of Contract)

38. The allegations contained in Paragraphs 1 through 37 inclusive, are restated and
incorporated by reference herein.

39. At all times relevant hereto, Plaintiffs and the Class were royalty payees under
valid and enforceable Royalty Agreements under which Antero has been obligated to pay
royalties, and has paid royalties, at various times after June 1, 2007.

40. Atall times relevant hereto, Plaintiffs and the Class have fully performed their
contractual obligations under the terms of the Royalty Agreements with Antero.

41. Antero has breached its contractual obligations to Plaintiffs and the Class under
the Royalty Agreements, in the manner described above.

42. _ Plaintiffs and the Class have sustained substantial damages as a direct result of
Antero’s breaches of its contractual obligations to Plaintiffs and the Class under the Royalty
Agreements.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for the following relief:

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A. An Order certifying this case as a Fed. R. Civ. P. 23(b)(3) class action, appointing

each of the Plaintiffs as the Class Representatives, and appointing Plaintiffs’ attorneys as Class

Counsel for the Plaintiff Class;

B. A judgment in favor of the Plaintiffs and the Class against Antero for the damages

sustained as a result of Antero’s breaches of the Royalty Agreements, inclusive of an award of

prejudgment interest on all royalty underpayments, pursuant to the applicable West Virginia law,

such prejudgment interest to be calculated from the date of each royalty underpayment to the

date of judgment;

C. An award of court costs; and

D. Such further relief as the Court deems just.

JURY DEMAND

PLAINTIFFS DEMAND A JURY TRIAL ON ALL ISSUES SO TRIABLE.

DATED: October 2, 2017

/s/ L. Lee Javins

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ATTORNEYS FOR PLAINTIFFS AND THE
PROPOSED CLASS

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" . v 435 cbZ8 .

. THIS AGREEMENT, made undenteredintothe___T4th = dayof __March 198 _, by and

between Jessie J. Nixon and Betty Nixon, his wife
Mary Alice Vincent and Hubert IL. Vincent, her husband

 

 

 

 

part =g——F the first part, hereinafter called Lessors, whether one or more, and_Clarence W. Mutschelknaugs————__

: party of the second part, hereinafter called Lessee;

WITNESSETH, that the said Lessors, for and in consideration of the sumof___one Silos ($_1, 00. _.)
to’them in-hand well and truly paid by said Lessee, the receipt of which is hereby acknowledged, and of the covenants and agreements herein-
after contained on the part of the said Lessee. to be paid, kept and performed, have granted, demised, leased and Jet and by these presents do
grant; demise, lease and let, with covenants of quiet possession, and that they have the sole right so to grant and demise, untothesaid Lessee,
ita successorsand assigns, for the purposeof miningand operating foroil, gas and casinghead gas, and of building tanks, stations, power plants,

‘water stations and structures thereon to take care of the said products, and of laying pipelines on, over and across the leased premises and
other lands of Lessors, for the purpose of conveying oil, gas, casinghead gas, steam or water therein from and to walls and pipe lines on the

 

premises and on adjoining and adjacent farms, and rights of way for road ways over this and other land of Lessors, ,

all that certain tract of Jand situatein___Greanhbrier _.___-____District of . Doddridge  _- : :
County and State of_Wast Virginia ____., on the waters of __Greenbrier Creek

bounded as follows:
On the North by lands of
OntheEast bylandsof R.G. Davis
On the South by lands of Marcellus Clarice
-Onthe West by lands of MT. Williams
containing fifty one 51 acres, more or less, being land purchased from

by deed dated and recorded in Deed Book No,_______, at page ________, reserving, however,
therefrom all lands within two hundred (200) feet of the resident buildings now on the premises on which no well shall be drilled by elther party
except by mutual consent. : : : .

It is agreed that this lease shall remain in force for the term of One —___ {_4__) years from this date and as Jong thereafter ag
operations for oil and gas purposes are being conducted on the premises, or oil or gas is found in paying quantities thereon by the sald Lessee,
its successors and assigns, “‘Operations™ as used herein shall be deemed to be commenced when the first material or equipment is placed on the
leased premises or when the first work, other than surveying or staking the location, is done thereon which is necessary for such operations.

_ In consideration of the premises, the said party of the second part covenants and agrees: First, to deliver monthly to the credit of the
Lessors, their heirs or assigns, free of cost, in the pipeline to which Lessee may connect its wells, Lessors’ proportionate share of the equal
one-eighth (1/8th) part of all oil produced and saved from the leased premises; and second, to pay monthly Lessors’ proportionate share of the
one-eighth (1/8th) of the value at the well of the gas from each and every gas well drilled on sald premises, the product from which is marketed
and used off the premises, said gas to be measured at a meter set on the farm, and to pay monthly Lessors’ proportionate share of the one-
eighth {1/8th) of the net value at the factory of the gasoline and other gasoline products manufactured from casinghead gas. .

The Lessee shall not be required in any event to increase the rate of said gas well or casinghead gas payments or said royalty of oil by

reason of any royalty or interest in said oil or gas that may have been horatofore-sold, reserved or conveyed by Lessors or their predecessors in
title or otherwise, And any such outstanding royalty or interest shall first be deducted from the royalties and rentals above provided Lo be paid

 

 

 

 

 

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‘ey * OF delivered. . ‘ :

oe If (and only if) Lessors or any third party claiming under Lessors are entitled to receive free gas, whether by virtie of the ownership of -
<<" the surface of the leased premises and all the oil and gas underlying the same; of the surface of the leased premises and an undivided interest in
co the oil and gas underlying the same: or of the surface of the leased premises-and the express record right to receivo free gas, then Jessors or

. 5 such third party may lay a line to any well producing gas only on said land, and take gas produced from said well for____.____own use on
co) - sald land at their own risk, subject to the use, operation, pumping and right of abandonment of the well by the Lessee; the first two hundred |
SC} . thousand (200,000) cubic feet of gas so taken in each year shall be free, but all gas in excesa of two hundred thousand (200,000) cubic fect taken

in each year shall be paid for by the Lessors or such third party at the same rate at which Lessee sells the remaining gasfrom said welltoother | -
third parties, which rate may vary from time to time, and measurement and regulation shall be by meter and regulators set at the tap onthe -
well. This privilege is upon condition that the Lessors or such third party shall use said gas with economy, in safe and proper pipes and

<a} appliances, and shall subscribe to and be bound by reasonable rules and regulations of the Lessee at such time relating to such use of gas.

sath Lessee covenants and agrees to locate all wells so as to interfere as little as possible with the cultivated portion on the farm. And it is
sy agreed that the leased premises may be fully and freely used by the Lessors for farming purposes, excepting such parts as aré used by the
2" Lessee in operating hereunder, and further, that the said Lessee may drill or not drill on said land, as it may elect, and that the consideration

J > and rentals paid and to be paid constitute adequate compensation for such privilege, It is agreed that the Lessee is to have the privilege of

«using, free, sufficient water and gas from the leased premises torun all machinery necessary for drilling and operating thereon at any time and
_.=4 - to rumove all machinery and fixtures on the leased premises, Lessee shall pay for damages caused by its operations to growing crops on said
wi > lands, and when requested by Lessor, shall bury its pipelines below plow depth, ’

er

‘The said Lessee covenants and agrées to pay rental at the rate oftheir proportionate share of #400 per acre. 7

Agr_annun -_) Dollars annually in advance, beginning wvhen_last signature is TAUACHTAIn this date, until, but not after, a
well yielding royalty to the Lessors is drilled on the leased premises, and all rentals shall cease after the surrender of this lease as hereinafter
provided for, During any period (whether before or after expiration of the primary term hereof) where there is an oil or gas well on the leased. .
premises capable of producing oil or gas in paying quaritities and oil or gas is not being sold or used and the well or wells are shut-in and there is
no current production of oil or gas or operations on the leased premises or any portion thercol sufficient to keep this lease in force, Lessee shall
he obligated to pay or render as shut-in royalty an amount { which shall be the same and shall be paid regardless‘of the number of shut-in wells)
for each three (3) month period equal to one-quarter (1/4) of the annual delay rental as hereinabove provided, and it will be considered that oil
of gas is produced for all purposes of this lease during any period that such well or wells are so shut-in, Said shut-in royalty for the first three
(3) month period shall be payable within forty-five (45) days following alebting in of all wolls, and paying for each subsequent three (3) month
period shall be payable on or before the beginning date of each subsequent three (3) month period. Lessee shall use reasonable diligence to -
market oil or gas capable of being produced from such shut-in well or wells but shail be under no obligation to market such gas under terms, -
conditions or cireumstances which, in Lessee's judgment exercised in good faith, are unsatisfactory. : ‘

- ‘Tf Lessors own a less interest In the above-described land then the undivided fee simple estate thereon, then the royalties and rentals
herein provided shall be paid to Lessors only in the proportion which their interest bears to the whole and undivided fee, _

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Case 1:17-cv-0 -IMK-MJA Document 31 Filed 10/02/17 Page 17 of 34 PagelD #: 294

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. Alt payments for shut-in wells, delay, for gas produced and marketed, for gasoline and other by-products may ha made directly to the

 

~ Lessors, their hairs or assigns by check mailed to Jessie J. Wixon and Mary Alice Vineant-

at - P.O, -
State of ‘

 

 

such puyinenta may be also made in the same rta :

 

who is heraby appointed agent for the Lessors te receive the same,

 

 

 

In case of notice of, or an adverse calim tothe Jeased premises affecting all or uny part of the shut-in rentals, delay rentals, or royalties,
Lessee: niay withhold payment or delivery of the same-until the ownership is determined by compromise, or by final decree of a court of
competent juriadiction, ind to this end Lessee may flea potition for interpleader.-

‘The interest dr estate of either party hereto may be assigned, the privilege of assigning in whole or in part being expressly allowed. In

* the event this lease shall be assigned as to any part or parts of the abové-lescribed Iand and the assignee or assignees of such part or parts

shall fail or make default in the payment of the proportionate part of the rents due from him or them, such default shall not operate to defeat or

affect this leasd as it covers a part or.parts of said lease upon which the said Lessee or any aasignee thereof shall make due payment of said
rental, No change of ownership in the land or in the rentals or royalties shall be binding on the Lageea until after notice ta the Lessec and after
it has been fummished with a written transfer or aasignment or a certified copy thereof. .

Lessors hereby warrant and agree‘to defend the title to the land herein described and agree that the Lessee at its option may pay,
di:charge or redeem any taxes, mortgepes or other liens existing, levied or assesaed on or against the above-described Jand, and In the event it
exercises such option, i shall be subrogated to the rights of any holder or holdera thereof and may reimburse itself by applying any royalty or
rentals occurring hereunder to the diacharge of any such taxa, mortgages or other liena, ;

It is expreasly agreed that if the Lessee shal! commence drilling operations at any time while this lease Is in force, it ahull remain in force
and its terms continue so long os such operations are prosecuted and if production resulta therefrom, then ss long ag production continues. If
after the expiration of the term of this feasa production from the leased Pramises shall cease from eny cause, this lease shall. not terminate
provided Lesseo resumes operations within ninety (90) days from such ceasation, and this lease shall remain In force during the prosecutlon of
such operations, and if production results therefrom, thenas jong es oil or gas is produced in paying quantities, :

Upon the payment of One Dollar (81,00) at any time by the party of the second part, or by ita successors and assigns, it or they shalt
have the tight to surrender thia lease for cancellation, after which all payments and abilities thereafter to accrue under and by virtue of its

’ lerma shall cease and determina, and this lease becomes absolutely nulland void.

. Lessors agree that the recordation of a deed of aurrendor in the proper county, and the mailing in the post office of A check, payable as
above provided, for said Jast-mentioned sum and all amounts then due hereunder, shali ba a full surrender and termination of this lease, *
All pravisions of this lease shall ba binding upon the helrs, executors, administrators, successors and assigne of the parties hereto.
IN. WITNESS WHEREOF. the parties of this agreement have hereunto set their hands and seals the day and year first. above written,
Whtnega: . . :

Prepared. by Ronald L. Swann ISEAL)

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(SEAL)

  
  

 

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STATE OF Mest Virginia  counry or MaAA ten, _ TOWIT:

 

This foregoing instrument was acknowledged before me this 70 day of___227 acces 1984 by

Jéasie J. Nixon and Betty Nixon, his wife :
My commission expires: < se (9 2 =

woe . : i Notary Public.”
stateor_West Vireinia COUNTY OF ABA Lag ps ___ FO-WIT:

. This foregoing instrument was acknowledged before me this i & day of by dBachn 19,84 by
Mary Alice Vineent and Hubert Vincent, her husband Zt

My commiaslon explrest.__, S726 9 o.4
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. v Notary Public or

STATE OF WEST VIRGINIA, co
DODDRIDGE COUNTY COMMISSION CLERK'S OFFICE, 27 Lids... le... LY Ata 5EM, -

The ‘foregoing A Lt Bk together with the certificate thereto annexed.

 

was this day admitted to recard int my said office.

DE . DAUGHERTY, Clerk

  
 

  

 

 

 
Case 1:17-cv-00088-IMK-MJA Document 31 Filed 10/02/17 Page 18 of 34 PagelID #: 295

STATE OF WEST VIRGINIA
COUNTY OF DGODDRIDGE

I, Beth A Rogers Clerk of the Doddridge County Commission, do hereby certify that the foregoing writing is a true and
accurate copy as appears of record in my office in LEASE, Book: 135 at Page: 628, of suid record.

The foregoing instrument was acknowledged before me Wednesday, September 6, 2017.

 

 

 

COUNTY. § Beh ARoges

ae vale Clerk of the Doddridge County Commission

» hewva CATR

Lorena C. Slater
Deputy Clerk

   

 
 

Case 1:17-cv-00088-IMK-MJA__Document 31.. Filed.1.0/02/17, Page 19 0f 24 PagelD #: 296
_ , BOOK279- PAGE 570 ~

STATE OF WEST VIRGINIA)

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COUNTY OF DODDRIDGE ) )
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---Above This Line Reserved For Official Use Only-—-—

 

Lease Na. :

 

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Modification of Oil and Gas Lease

“LESSOR: . . Jacklin Romeo
LESSEE; ~ Antero Resources Appalachian Corporation -

DATED: ° September 19, 2012

WHEREAS, MADE AND ENTERED INTO this 19th day of September, 2012, by Jacklin Romeo, ;
. ‘party of the first part, hereinafler referred to as “Lessor”, and Antero Resources Appalachian
- Corporation, party of the second part, hereinafter referred to as “Lessee” WITNESSETH THAT:

WHEREAS, heretofore, on the 14th day of March, 1984, Jessie J. Nixon, Betty Nixon, Mary Alice
Vincent, Herbert L. Vincent, as LESSOR, executed and delivered to Clarence W. Mutschelknaus, as
Lessee, a certain Oil and Gas Lease, covering the following described land situate in Greenbrier District,
Doddridge County, State of West Virginia, v
to-wit:

Fifty One (Si) acres, more or less on the waters of Greenbrier Run, in Greenbrier
District, County of Doddridge, State of West Virginia, bounded substantially by
lands now or formerly owned as follows: mo , [

On the North by iands of Chas W Smith

_ On the East by lands af R C Davis
Ont the South by lands of Marcellus Clark
On the West by lands of M T Williams

. WHEREAS, said Oit and Gas Lease is recorded in Lease Book 135, of Deed Records of said County, on
~ Page 628. . .

- WHEREAS, said lease did not contain pooling or unitization authority; and

NOW THEREFORE, in consideration of the sum of One Dollar ($1.00), the mutual covenants and .
conditions herein contained, and other good and valuable considerations, the receipt of all of which are
hereby acknowledged, the parties, for themselves, their successors and assigns, covenant and agree as

’ follows: .

I. It is the desire of the parties hereto to amend and modify the said. lease to include pooling
provisions as set out below, ; ,

POOLING Lessor grants unto Lessee the right to pool into a separate drilling or
production unit(s), a5 to any one or more formations, said land or any part thereof and the
leasehold estates therein in the vicinity of said land," whether contiguous of
noncontiguous, held by Lessee or other Lessees, when in Lgssee’s judgment, it is
necessary or advisable to create such pools to develop and operate efficiently such lands. - ,
Any such pool shall not exceed 80 acres for oil and 640 acres for gas: provided, however,
that larger poots may be created to conform to any well spacing or unit patter prescribed
by any governmental authority, Lessee, alone or with other lessees, may form any pool
before or after completion of a welt thereon by recording in the county wherein the
pooled land{s) are located, a declaration of such pooling. Neither the pocling nor the

_ provisions hereof shall operate as a transfer of title to any interest in the. leased premises.
The commencement of s well, the conduct of other drilling operations, the completion of
a well or of a dry hole, or the operation of an producing well on the pooled are, shall be .

~ considered for all purposes (except as to royaltics and the use of free gas} as if said well
were located on, or such drilling operations were conducted upon, the lands covered by

 

 
Case 11.2-Cy-00088-IMK-MIJA.- : 297

 

BOOK 279 PAGE

this Jease whether or not such well is located upon or such drilling operations are
conducted upon, said lands. The royalties provided for in the lease shall be tendered or
paid to Lessor in the proportion that Lessor’s acreage in the Pooled area(s) bears to the
total pooled area. Lessee shall have the right but not the obligation, to reduce, enlarge, or
modify such pool(s) at any time, The royalties and such other payments tendered or pnid
"thereafter shall then be based upon the proportionate acreage and interests in the revised
pool.

- As to any part of the leasehold premises not included within a pooled area(s}, Lessee
- shall continue to pay to Lessor the rent specified in the leage, in the proportion that such
unpooled acreage bears to the total acreage subject to this lease from time to time. At any
time the pool is not being operated as aforesaid, the declaration of pooling may be
surrendered and cancelled of record. Such cancellation or surrender shall not effect a
"surrender or cancellation of this lease,

ANTERG RESTURCES APPALACHIAN CORPORATION

P.O. Bik 430

_AND); for the same consideration recited above, I, or we, the undersigned, jointly and severally, do hereby

adopt, ratify, and confirm The Lease, atd all of its provisions, except as herein modified and amended, and
_ dohereby grant, lease, and let,to the Lessee therein or its successors and assigns, any and all interest which I,

- or we, now have, or may hereafter acquire, either by conveyance, devise, inheritance, or operation of law, and
whether, vested, expectant, contingent or fiture, in and to the lands described therein; in accordance with
each and ail of the provisions contained in The Lease and as amended hereby, and the undersigned hereby
déciare that The Lease and all of its provisions are binding on the undersigned and is a valid and subsisting

cnt Oil, Gas, and Minerat Lease and this agreement shail extend to and be binding upon the heirs, executors, -
*4 administrators, successors, and assigns of each of the undersigned. :

BRIDGEPCRT, WF 26330-0410

woe

a Ee

SE Signed:

, Bo Nacsddicn Maras

Jacklin Romeo

i . - INDIVIDUAL ACKNOWLEDGMENT

_ sTATE OF West Vicganic,
county OF Hatasal :
To-Wit: J, Seckchin Ps Sterhad Nel , do hereby certi ‘that Jacklin Romeo, whose
| -tlame is signed to the writing above, beating date of the "day of Seekwl, 2012 has this day -
acknowledged the same before me in‘my said county. we

“. Given under my hand this 2 day of Sept. 201%) gp
OLR

. My Commission Expires Mov 277, 20'6 .
. A Publié Notary

   
   
 

 
 
      

  

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507 Park Steet
Bildgepert, W¥ 2630

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emt Ceesntrles Beth f Rogers
Requirement &: DOUBREDGE County 03216336 -FH
, : Instrument No 167870
Date Recorded 10/22/2012
“This instrument was prepared by: Bocunent Type HOD/L
ea Appalachian Corporation . Pages Rerarded n ,
. Additional $4.00

 

 

 
 

Case 1:17-cv-00088-IMK-MJA Document 31 Filed 10/02/17 Page 21 of 34 PagelD #: 298

STATE OF WEST VIRGINIA
COUNTY OF DODDRIDGE

1, Beth A Rogers Clerk of the Doddridge County Commission, do hereby certify that the foregoing writing is a true and
accurate copy as appears of record in my office in LEASE, Book: 279 at Page: 570, of said record.

The foregoing instrument was acknowledged before me Wednesday, September 6, 2017,

  

 

Beth A Rogers OE
Clerk of the Doddridge County Commission

» Kaa 0 ibeden

Lorena C. Slater
Deputy Clerk

 

COUNTY SEAL
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OIL and GAS LEASE
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P THIS AGRERMENT mato xnd entered into thisthe 29 _ day of __Ootober ,
1979, by and between Leo WW Sruder and liao. Snyder bis mite ‘ '

 

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hereinafter called Lessor (whether one or mor), and Robert L, Matthey, Ux,
horelnafier-palled Lassen, Route 1, Box 73, Walt Summit, WW 26452
WITNESSETH, that suld.Lessay, In opnslderafion of the rn of ONE DOLLAR (F100), thotecelprof which thereby
scknowledgtd, ani -of the-covroante lersinatler contalped op fhe pat of anld Lewes, to be pald, kept and petfaimed, hac
granted, deinised, lead and but, exclumvely unto Lesset, with coranants of yeneral warranty, tor the porpose and with tho
Hehls of drilling, producing, wnd otherwise operating for ofl wid gas, and of laying pipe Hoes and building Toads,
ulations, and electele power jingt, hayay Lor valves, posters sande iecvend nba Hepiltnone, with al other sightsand privileges
navessary,-|uciiitat Lo or convenient for tke operation of this jand slone and pololnHy velth nélghborlng lands, all thal-eertain

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+ Binteof Meat Wirginde _, antbouoded pubslontiatly ax follower
. On the Noth by'lendeot ora Hoel} '
“On the Ead-by Inds of ‘Mathan Jathony,
On the Bowth by Jandrof Henry Moore : . jz
E : fon the Weat by lands of Alvin Lawson

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' and contalning, for the purposa of exloulating roritals, ALOR Int im vad acres of 1uqd-Arhother ectually
sontalning move or less; ond part of all of tald-Jund ledexosibed ju thateertum dead to Lessor fom 2
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ded fa Book : » Pegs vay $a the Recorder's Office of ald
‘ County, It being the intent of Tossor Lo inehude all lynds owned by Ihe Lesior jn gald-Dounty,

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$ trom the date-heroof-and as tong fherentter as tho satd land is.operated by edn the jon of oll-ar ges,
2 (a) , Lenes covenants nnd ea to deliver to the ereult of Lestor, hi’ belt or-esstens, [res of onsts, (n the Pipe
Ting to which, rd Lewes may goonea is wells, 2 royally of ono-olgith (178) of native oll produced and sayed from the

lensed premises, *
fae Lessea covenants ond agrezs to pry Lessor as a‘royslty Jor thenatiye gas from each.acd evory well dilledan
wid premises producing native gas, an ampant eyual to one-olgbth (1 8) of the grou proceeds xecetved from the cule af same
st the prevailing pace for gas euid al the well, forall native. gay saved and marketed from-the stld prenilseh, payable aunty.
8, Ty Lessee aball mot have elther begun operons for the commoncoment of a well gmythe prionlees within

trom tho date hereof Larne agreet to pay to the.Lewor the rom of $200 por sore 1/40 tnt, oe

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————— from date an 6 rents] for —L2 toowths such comméhooment ils delayed, aubjost howerer Ap tho ‘
right afcancellation horelnatter granted to Lasmo, and {t-Js underatoad and ppreed thyt fhe rental.as hovelnbofore yrorided *
' for {x the chief pohsidoration wlll gommonoement of well, The commencement al a-wel) shall, jroweyer, be and operate ar
i a full Nquidalion af all seota {heron(ter acoruiag Under Hils provlulon of this lease duririg the.remplnder of she herm hereof,
. Jn the avenit of complation of & eommerola))y pnproductive well on the Frembsesithe Lace thal be under no-obligh(ion La
make delay.renial payments for'e-pariod of one year following the completlon of.siah wall, Al tho sepiptlon of Uhls venta)
Tret pprlod, Lewiva may eotinus to hold this Veésd for xooh Turther tenn ws tt may desire, not tq uxcead: the primary \erm
fhereof, Upon the payment of the.renlals alove mentioned, Lorsce mayyal lis oplion, pay-rentale quarterly oF asmiually.

A All poyments under (nlp ieace chell be made by Brock orfouchee othe onder of

sand Mrs. Lee W snpdev _ , roxid tp Route: 9, nox 5900, Newport hiches Plorida :
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re tll the Lense thal) trav weltbon nollcé Bom the Lessor, tts hel or supa ve
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- ownership dfrocting pi Le }o bo riada otherwise, mend hoy payments made ar pbove UNH) seb direction, and thercdlter
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Faplion shell not be counted against Lees, ecgylicing in-th}s lease ie tha sontzary nobrdlivta ing, All express or implied
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+ Tesponding rights, privtages, nud obligato with rompeat to td voyaltien end rentals pe bo the acreage asrigned le. ~
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Case 1:17-cv-00088-IMK Document 15 Filed 06/27/17 Page 19 of 26 PagelD #95

 

aR NES APPALACHIAN CORPORATION ‘ Bush I Thoees
TAIEMET, HI NTEO-OiNO BKIS16 POOTtT Sent to suse
. Dole fea esiasts
STATE.OF WEST VIRGINIA) ty Fas Tenn 4
) doikfaw 8-7
COUNTY GF HARRISON } Ruortfing Fee 48.00
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' {Above This Line Revorved For Official Use Quly}
LESSOR! “Avean §, Rine, Hele af Lee HL Stiydor, whore address is:
137 Dormine Drive, ‘Gan Antonio, FL 33576
LESSEE: “Antero Respurves Corporation, whose address iy; . :
1625.17" Strent, Denyer, CO 89202 ;
; MODIFICATION OF O1L AND GAS LEASH

THIS AGREEMENT 18 MABE AND ENDERED INTO on this 24th day-of July; 2013, by
and bebveen Susan & Ring, Beir of Les H, Snyder, party of the frst part, beveinafter referred to as
Lessor", and Antero Resources Corporation, s Belaware Corporation, partios of the second part,

heralnafter referred to as “Lesses",

WHEREAS, haretofore, on the 19th day of Ovtoher, 1979, Lee 1, Snyder and Olive
W, Suyder, at Lessor, exeouted and-delivered to Robert L. Matthey Wr. 8 Leases, a certain Oil and Gus
Lease, covering the following desoribed land situate In Union District, Harvison County, Smits of West
Virginia,
ko-wit:

107 acres, mors or iasr in the Union Disteiet, County of Haryison, State of West Virginis,
ieunded substanGally by Tanda now oy formerly owned os follows: ,

On she North bp lands af Cora Howelt a
On the East by lands of Nathan Matheap ete
On the South by lnnds of Henry Moore

On the West hy lander of Alvin Lawson

said ofl and pét leave being of recosd in Deed Book 1094, Page 59 ofthe land recouds of Marcio.
County, West Virginia (the "Lease". , ! ss,

sya

WHEREAS, Lessor has arquired or otherwise owns a fiterest in all of or 4 portion of tbe above lands
covered by said Leuso md Lessor aud Lease desire to mod Eythe Lease to ‘include certaln “additional
terms and provisions as hereinafter Bet out. 0 .

NOW THEREFORE, in consideratlon af the snat of-One Dollar ($1.00), the mutual desire of
ihe parties lo amend said Lease, and other good and valuable consideration, the regeipt of all of which Is
hereby acknowledged, it Is herehy agreed and undersiggd that the snid Lease fs herthy amended ip
include the following provisions: .

POOLING Lessor grants yolo Lesses the vight to pool into a separate drilling or
production unit(s) (cach a “Pooled Area”), a6 io any one or more formations, said land or
amy pert hereof and tho leaschold estates therein in thé vielalry of said land, whether
conligunus or nonoontlguour, held by Leste or other lesteos, when in Leseeo's
judgmont, it lsnecessary or udvisable to dovelop and operate efficiently auch Jends. Any
much Fooled Aren shell not exeesd 8Q atres for Sil and 640 mores for gasj provided,
however, that larger Pooled Areas may be created fo conform lgany well spacing of unit
paltern presoribed by my govermnental authority, Lessee, alons,or with other lessces,
way form any Pooled Area before or after completion ofa w: thereon by recording in
the county Wherein the pooled tand(s) are Iocaled, a declaration of such pooling, Nether
the pooling nor the provisiona hereof shut] opefute-as a transfer of ie to any intarest in
Ne feased promiets, ‘The commencement of @ weil, the vonduct of other drilling
aperations, the completion of a woll or-of a dry holayor the opesation of a producing well
on the Pooled Area, shell be considered for-all purposes’ (except as lo royeliies and the
use of free gas) ap if anid wall were located on, or auch operations were conducted upoa,
the Innds covered by this lease whether or not such well if lacafed upon or suah
operations are conduoled upon said junds. ‘The royalties provided for in the lease aball be
fendered or pald fo Lesbor bi the proportion that Lessor's acreage tn the Pooled Aroats)
peart to the total Pooled Area. Loser: shall have the right but not the obligation, 1
Case 1:17-cv-00088-IMK-MJA Document 31 Filed 10/02/17 Page 27 of 34 PagelD #: 304

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Case 1:17-cv-00088-IMK Document 15 Filed 06/27/17 Page 20 of 26 PagelD #: 96

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Teduee,-onlarge,-ormodify such Poojed. Area(s} ot any tims, The royalties and such other
paymeng tenttered or paid thereafter shall ‘then be based wpon tho. proportionats noreage
‘nd fulcrests in the rovised Podled Area, “At poy time the Pooled. Ares 1s not beinp’
operated aa adpredald, the declaration of pooting may be surrendered and cancelled of

recon, :Bugh conpsllation or-surender shall not sffect-s surrender or cancellation of this
lease,

 

The authority 20 pool ve provided hereunder ix Hmised INSORAR AND ONLY
FNPOPAR ec to cover the "Target Rights"-assigmed to Lessee. As aved herein, "Targel
Rights" means those depths-bnvofar and only inacfar as to al rights below the top of the
Rhineatreet Hormation:(as seen by the Bear Rockett! well, APIVSTOS1-22785, at a depth
of 48034},

‘Hold Hares Clause . .

Lessee agrees 19 indemnify, prolowl, save harmjess and defimd Lessor from nad against
any joss, olaim or expense, including without limbtation claims for injury or death io"
persons or damage 1o' property ocoyrring As & rawult of Lessee’s for Lessea's aanignees,
thair employees, agents, contractors and subcaniracion) use of Lis leaned premises, or a3
a result of loas, exponso, injury, death or dantage, which would not have occured bat for
Lesste'é wan of dhe'leared premises, oxoop! to the extent any auch dafiage or injury is
caused by Lesnoe's negligence.

 

way
Indomulfication, LESSEE AGREES TO INDEMNIFY AND HOLD HARMLESS
LESSQR, AND LESSOR’S REPRESENTATIVES, AGENTS, EMPLOYEES,
SERVANTS, CONTRACTORS, AND ANY OTHER PERSON ACTING UNDER
LESSOR'S DIRBCTION AND/OR CONTROL, LESSOR'S INDEPENDENT
CONTRACTORS, AND LESSOR'S SUCCESSORS AND ASSIGNS; AGAINST ALL ‘
EXPPNSES, CLAIMS, DEMANDS, LIABILITIES, AND CAUSES OF ACTION OF
ANY ‘NATURE FOR INJURY TO OR DEATH OF PERSONS AND LOSS OR
DAMAGE TO PROPERTY, INCLUDING, WITHOUT LIMITATION, ATTORNEY
FEES, EXPERT PRES, AND COURT COSTS, CAUSED “BY LESSBE’S
OPERATIONS GN THH LEASED PREMISES OR LESSEE’S MARKETING OF
PRODUCTION FROM THE LEASED PREMISES OR ANY VICLATION OP ANY
ENVIRONMENTAL REQUIRBMENTS BY LESSER, AS USED IN THIS
PARAGRAPH, THE TERM “LESSEE" INCLUDES LESSER, ITS AGENTS, 1
BMPLOYERS, SERVANTS, CONTRACTORS, AND ANY OTHER PERSON '
ACTING UNDER ITS DIRECNION AND CONTROL, AND*Y$S ‘INDEPENDENT :
CONTRACTORS. ‘THIS INDEMNITY SHALL BR AS GREAT. AS THE LAW
ALLOWS, AND LESSEE SHALL INDEMNIFY AND HOLD LESSOR HARMLESS
FOR ALL LOSS, GOST, DAMAGE OR EXPENSE OF EVERY KIND AND
NATURE, WHETHER THE RESULT OF THE sd£z . NEGLIGENCE,
CONCURRENT OR COMPARATIVE NEGLIGRNCE, OR STRICT LIABILITY OF
LESSEE, TO THE EXTENT, AND ONLY TO THR EXTENT, THE FORRGOING
INDEMNITIES ARE, BY LAW, ONLY ENFORCEABLE SF SUPPORTED BY
AVAILABLE LIABILITY INSURANCE, LESSHS AGRESS THAT” THE
INSURANCE PROVIDED POR JN SECTION 23 IS INTENDED 'TO SATISFY ANY
COVERAGES AND DOLLAR LIMITS OF LIABILITY PROVIDED BY
APPLICABLE STATUTES, TQ THE EXTENT, AND ONLY TO 'THE EXTENT,
THE FOREGOING INDEMNITIES ARB, BY LAW, BITHEE INAPPLICABLE OR
NOT ENFORCEABLE, LESSEE AND LESSOR SHALL BAGH BB RESPONSIBLE
POR THE RESULTS OF ITS OWN ACTIONS AND FOR<THE ACTIONS OF
THOSH PERSONS AND BNTITIES OVER WHICH IT RKERCISES CONTROL.
LESSEB’S INDEMNITY OBLIGATIONS SURVIVE THE, TERMINATION OF THIS
LEASE. :

For the same consideration -realted above, each of the undeniigned docs horcby
adopt, ratify, and sonfirm the Lease as amended, mid docs herely grhul, Jease, and Iot, unto
the Lessee therein mid ite, supcessors and asalgns, any and all inigteat gn and to the lands
desoribed fhareih chnreully owned or thil may horeafler be acquired, elther by conveyance,
devise, inheritance, or operition of law, and whether, vested, oxptctant, Contingent or fiture,
and in accordance with each and all of the provisions contained in thir Lease ax amended
hereby, "and cach does hereby declare that the Lease fs m valld and subsisting olf and gas
jeae ardl.all of: {te provistons are binding upon the underaigned and vhal) extend to wnd be
‘binding upon the hes, rxeulore, administrators, surcessom, and ABs Es of each of the
whdersigmed, Upon the reasanablp seqiest to do xo, each of the undersigned agrers to
extoute, boknowledge png to deliver any additional instruments, notfoos, division drders,
tranafeycdere and ofher documents, 19 provide midjifuna) inforaflon and lo dp any other
acts anil tings which may be-ncosssery or dexhible to allow payziient of any royaltiesfhat

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Case 1:17-cv-00088-IMK-MJA Document 31 Filed 10/02/17 Page 28 of 34 PagelD #: 305

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the Lessee, ts avecomars aedor assigns io nnd to the property intended to to covered
hereby,

IN WITNESS WHEREOF:
SIGNED: | .
Susan &, Rine =

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county or: Hyle StaRou G7

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This jncteument was acknowledged before me on the 2 day of, Mees & sv 2013,

by Suran 8. Bins,

My Commission Expires | 4 jah 2

  

 

 

Prepired by, Amietn Besuurers Comonstion, POBox AVG, Bridgepoal, West Vigglnta, 263301
 

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Pleaxe requen un Amen Resouces Corporation, FO Hox 410), Bilkgepor, West Virginla, 26340

 
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(Abnve This Line Reserved Far Offiaial Dae Only)

LESSOR: Dehra Snyder Miller, Helr of Lee. Snyder, whose addross Ist
+ 10115 Breer Lang, New Port Richey, WL 3465¢

LESSER: Aatere Resources Corporation, whose address ist
.1625,L7" Btrest, Penvor, CO 80202

MODIFICATION OF OL, AND GAS LEASE .

THIS AGREEMENT IS MADE AND ENTERED INTO on this 24th day of Inby, 2013, by
and betvees Debra Suyder Miler, Heir of Lee A. Soyder, pasty of the frst part, hereafter referred to
as “Lesder”, and Autoro Reaources Corporation, a Delaware Corporation, parties of the sroond pari,
hereinafter refeyred to nk *Losgec”,

WHEREAS, heretofore; on.the 9th day of October, 1975, Lee BL Snyder and Olive
W. Soyder, at Lessor, executed and delivered to ‘Robert LC. Matthey Jr., ns Losses, a certain Dif and Gas
Lease, covering the {allowing desoribed Jand situate in Union Distriat, Harrivon County, Stite pf Weal
Virginia, 1 3.
foowdt: .t

107 acres, more or ese in fhe Unlon Dinrict, County of Harcigon, State of Went Virginta,
hounded substantially by lands now or formerly owned sg followe;

On the North bp lauds af Cora Howell

On the Basi by dands af Nathon Matheny

On the South by fandy of Nenrp Moore i

On the Wast by lands of Alvia Lawson

said off and gas lease being of xecord in Deed Book 1094, Page 39 ‘of the fand records of Harrison
County, West. Virgiola (the “Leage’),

WHERKAS, Lessor hes sequined or otherwise ovens an interest in all of or « partion of the above langis
covered by said Lange and Lessor and Lessee desire fo modify the Lease to melude cortalrs additional
terms and provislous as hereinafler sot out.

1 oe, .

NOW THEREFORE, in consideration of the sum of One Dollar ($1.00), the suutual desire of
the parlles to amend said Lease, and other good and valuable consideration, thé reosipt of all of which is
hereby acknowledged, it is horeby agreed and understood that the sold Lense is hexchy amended to
include the following provisions: : .

PDOLING — Lessor grunts unio Lessee the nighl to pool into a separate drilling or
produotion unit(s) foach » "Pooled Area’), aa lo-any one or more Sermations, said land or
Ruy part thereof and the leasehold estarea thereln In fhe viciilty of eaid faud, whother
contiguous or noncontiguous, beld by Lesses or otber lesseos, when fo Ueuyee's
judgmon, it is accesgary or advisable (0 develop and oparate. efficionily such iands. Any
auch Pooled Area shnll not exnecd 80 acres for oll and 640 nores fer gest provided,
however, shot Iarger Popled Ayoas may be treated ( conform Lo. any well specing or unit
pattern prescribed by any governmental authority, Lesses, alone or with othor lessees,
muy foray Pooled Area before of aller completion of a well thercon by reoording Lo
the county wherein the pooled Jand(s) are logated, a declaration. of such pooling, Neither
the pooling nor the provisions horeof shall operate os a transfer of title to any interes! bn
the leased ‘premisos, The commensemont of. a woll, the eonduct of other drilling
operations, the completion of a-wel) or of a-dry hole, of the operntion of a producing, well
on the Pooled Area, shall br considered for all purposes {execpt a& to royalties and] the
une of fros gas} as ff said well were located on, of such operations were conducted pan,
fhe Inids covered by this lease whedier or not such well Is Igenied pon or such
Operations are conduoled upon sald Jands. The royalties provided) fgtin the Joase.shall be
tendered or pald ic Lessor in tho-pmportion that Lossor’g acreage dA the Pooled Area(s)
bears to the tolal Pooled Area, Lessee shall baye the right but ‘not -the cbiigarion, wo

 
 

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payments tondened or paid thereafter shall then be ‘based npon the proporilonate acreage

and Interpsls fn the revised Pooled Area. Al any time the Pooled Area is nat tping
Oporiied fs aformeaid, tho deolaration of pooling may ba surrendered and cancelied of
record. Such caupellation or surrender shall noj.sffeot a surrender oF oancellation of this
ease,

e
The anthoyty to pool as provided herounder is Hrnited INSOFAR. AND ONLY
INFORAR as to over the "Target Rights" ateipned fo Lesueo, Ag used bercin, "Target
Rights* masns those dapths insofar and ouly-lngofar as to all rights below the top of the
Rhineatreot Formation (aa seu by the Beay Rockaf'l well, APLY37051-22785, at a depth
of 48055. ro,
Hold’ Harmless Clause
Laxsce agrees to indemmily, protect, save -hanrilese and defend Jessor from and agalnl
any Joss, olin of expense, Jnoluding without Jimitation claime:tor injury or deeth.to
potaons or damage to proporty ocourring.ay a result of Lessee’s Jor Leasee’s assignees,
thele employcos, apents, contraofors and subcontractors} usp of the Jeased. Bramisesicr as
a vosuit of loss, expense, injury, death or damage, whieh wouldjnof hve occured’ but for
Leasee’s use of the leased premises, oxoept to tho exical any-such.damoge or injury ds
cuused by Lessor's mtgllgeoat, :

indemnification, LESSEE AGREES TO INDEMNIFY AND BOLD HARMLESS
LESSOR, AND LESSOR'S REPRESBNTATIVES, AGENTS, EMPLOYERS,
SERVANTS, CONTRACTORS, AND ANY OTHER PERSON ACTING UNDRE
LESSOR'S DIRECTION AND/GR CONTROL, LESSOR'S INDEPENDENT
CONTRACTORS, AND LESSDR'S SUCCESSORS AND ASSIGNS, AGAINST ALL
EXPENSES, CLABMS, DEMANDS, LIABILITIES, AND CAUSES OF ACTION OF
ANY NATURE FOR INJURY TO QR DEATH OF PERSONS AND LOSS oR
DAMAGE TQ PROPERTY, INCLUDING, WITHOUT LIMITATION, ATTORNEY
FERS, .EXPERT FERS, AND COURT COSTS, CAUSED BY LESSEE'S
OPBRATIONS ON THE LEASED PREMISES OR LESSEB'S MARKETING OF
PRODUCTION FROM THE LEASED PREMISES OR ANY VIOLATION OF ANY
ENVIRONMENTAL REQUIREMENTS BY LESSBR. AS USED IN ‘THIS
PARAGRAPH, THE TERM “LESSHE* INCLUDES LESSEE, ITS AGENTS, '
EMPLOYERS, SERVANTS, CONTRACTORS, AND ANY OTHER PERSON
ACTING UNDER ITS DIRECTION. .AND CONTROL, AND IS INDEPENDENT
CONTRACTORS, THIS INDEMNITY SHALL BE AS GREAT AS TRE LAW
ALLOWS, AND LESSEE SHALL INDRMNIFY AND HOLD LESSOR HARMLESS
FOR ALL LOSS, COST, DAMAGE GR EXPENSE OF EVERY KIND“AND
NATURS, WHETHER THE RESULT OF THE SOLK NEGLIGENCE,
CONCURRENT OR COMPARATIVE NEGLIGENCE, OR STRIGT' LIABILITY OF
LESSER, TO THE EXTENT, AND ONLY TO THE EXTENT, THE FOREGOING
INDEMNITIES ARB, BY LAW, ONLY ENFORCEABLE 18 SUPPORTED BY
AVAILABLE LIABILITY INSURANCB, LESSER AGREES! THAT "THE
INSURANCE PROVIDED POR' IN SECTION 23 15 INTENDED TO SATISFY ANY
COVERAGES AND DOLLAR LIMITS OF LIABILITY PROVIDED BY
APPLICABLE STATUTES. TO THE EXTENT, AND ONLY TO THE EXTENT,
THE FOREGOING INDEMNITIES ARE, BY LAW, EITHER INAPPLICABLE OR
NOT ENFORCEABLE, LESSEE AND LESSOR SHALL BACI} BE RESPONSIBLE
FOR TWH RESULTS OF ITS DWN ACTIONS AND POR THE ACTIONS OF
THOSE, PERSONS AND BNTITIES OYER WHICH IT EXERCISES CONTROL,
LESSEB’S INDEMNITY OBLIGATIONS SURVIVE THE TERMINATION OR THIS
LEASE,

Por the sanse consideration recited above, each of the undersigned does ‘hereby
edops, ratify, aud confinn the Lease as amended, and does"hereby prant, lites, and let, unla
the Lesser thetein and ia sugcesency and agelpns, any aod al} iotevest in and io Ihe Jands
desoribed therein curently owned or that may hereafter bo acquired, eithér by couveyante,
devise, inheritance, or operaiion of law, and whether, vested, expectant, contingent or fy
and in accordance with cach and ail of the provislons contained in the Leabe as amendad
hereby, and each does herchy desu thal the Lease isa valid and subsisting ail and gas
Tease end'all of {te provisions are‘binding upon the wndeeaigaed and shall extend fo and be
binding wpon ithe heir, execulom, adriniptralers, successors, and gesigns of: each of the
undesigaad, Upon the resonable request to do ¢0, each of the underilgned agrecs to
execute, acknowledge and to deliver yny additional instruments, notices, diviclon orders,
transfer ofders end other documionts, to provide additional inforrsetion apd ta do any other
acts and things which may be necessary or desirable ta alow payment of-any royalties thet

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Case 1:17-cv-00088-IMK-MJA Document 31 Filed 10/02/17 Page 32 of 34 PagelD #: 309

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may ‘be tus or thal may beoome dus or to zare fully and offeotively protect the intezest of

ne pseees {ts successors andor assigns in wad fo the property intended ‘to-be covered
areby.

 

“pSey INDIVIDUAL ACKNOWLEDGEMENT
Georg}

STATR OF BLORIOS

county or_- Die 2

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‘This lostvument wes acknowledged befare me on the gyth. day of | Vic Lf , 203,

by Debra Miler,
“Na es Public

iY COMMISSION EXPIRESUUNE 9, 2015
My Cominission Expires

 
Case 1:17-cv-00088-IMK-MJA Document 31 Filed 10/02/17 Page 33 of 34 PagelD #: 310 -

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RIT? Pools?

Prepared by: Anse Resoprest Comorian, PO Box 410, Addgenont, Weer Virginia, 26030
Please remdin to: Anterp Resonives.Corparallon, PO Hex 410, Badpopor, Went Virgtiria, 26315

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Case 1:17-cv-00088-IMK-MJA Document 31 Filed 10/02/17 Page 34 of 34 PagelD #: 311

CERTIFICATE OF SERVICE
I hereby certify that on the 2nd day of October 2017, I electronically filed the foregoing
“Second Amended Class Action Complaint” with the Clerk of the Court using the CM/ECF

System, which will send notification of such filing to the following CM/ECF participants:

W. Henry Lawrence (WV Bar #2156)

Amy M. Smith (WV Bar #6454)

Steptoe & Johnson PLLC

400 White Oaks Boulevard

Bridgeport, WV 26330

Email: hank.lawrence@steptoe-johnson.com
amy.smith@steptoe-johnson.com

ATTORNEYS FOR DEFENDANT
ANTERO RESOURCES CORPORATION

/s/ L, Lee Javins

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